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   IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


 CONRAD SMITH, et al.,

                     Plaintiffs,

              v.                               Civil Action No. 1:21-cv-02265-APM

 DONALD J. TRUMP, et al.,

                     Defendants.



                                   [PROPOSED] ORDER

      On this ___ day of __________, 2023, it is hereby ORDERED that Defendants Donald J.

Trump’s, Donald J. Trump for President, Inc.’s, and Make America Great Again PAC’s Motion

For Protective Order Regarding Premature Discovery Requests is DENIED.


      SO ORDERED.




                                                        AMIT P. MEHTA
                                                    United States District Judge
